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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION

UNITED STATES OF AMERICA            )
                                    )
Plaintiff,                          )
                                    )
vs.                                 )         CAUSE NO. 2:10-CR-109
                                    )
VICTOR MEZA, JR.,                   )
                                    )
Defendant.                          )

                                    ORDER

      This   matter   is   before       the    Court   on    the    Findings     and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant Victor Meza, Jr. (DE #410) filed on February 21, 2012.

 No objections have been filed to Magistrate Judge Rodovich’s

 findings and recommendations upon a plea of guilty.                 Accordingly,

 the Court now ADOPTS those findings and recommendations, ACCEPTS

 the guilty plea of Defendant Victor Meza, Jr., and FINDS the

 Defendant guilty of Counts 1 and 2 of the third superseding

 indictment.

      This matter is set for sentencing on January 26, 2013, at

 1:00 p.m.



 DATED: March 13, 2012                        /s/RUDY LOZANO, Judge
                                              United States District Court
